       \\}.               Case 2:15-cr-00561-JS Document 32 Filed 12/07/18 Page 1 of 7
AO 2458 (Rev 02118)   Judgment ma Cnmmal Case
                      Sheet I



                                           UNITED STA TES DISTRICT COURT
                                                       Eastern District of Pennsylvania
                                                                          )
              UNITED ST ATES OF AMERICA                                   )         JUDGMENT lS A CRIMINAL CASE
                                  v.                                      )
                          DALE WILES               FILED                  )
                                                                          )
                                                                                    Case Number: DPAE2:15CR000561-01
                                                                          )
                                                   DEC rr12018            )
                                                                                    USM Number: 73100-066
                                                                                     Kathryn Roberts
                                               KATE BARKMAN, Clerk )
                                                                                    Defendant's Attorney
                                              By         Dep. Clerk )
THE DEFENDANT:
liZ! pleaded guilty to count(s)        1

0   pleaded nolo contendere to count(s)
    which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through                7          ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                               Dis       Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material cnanges m econoffilc circumstances.

                                                                          11/28/2018




                                                                          Juan ~._Sanchez,         US District Judge
                                                                         Name and Title of Judge



                                                                              12 J?.fJd -
                                                                         Date   f /-'
                            Case 2:15-cr-00561-JS Document 32 Filed 12/07/18 Page 2 of 7
AO 245B (Rev 02/18) Judgment m Cnmmal Case
                    Sheet 2 - Impnsonment
                                                                                                        Judgment - Page   2    of   7
 DEFENDANT: DALE WILES
 CASE NUMBER: DPAE2:15CR000561-01

                                                              IMPRISO:SMENT

             The defendant is hereby com.nutted to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

  One day on Count 1 .




      D The court makes the followmg recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custody of the United States Marshal.

      li21   The defendant shall surrender to the United States Marshal for this district:

             ~ at       09:00                       ~ a.m.        D p.m.       on      12/7/2018

             D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institut10n designated by the Bureau of Prisons:
             D before 2 p.m. on
             D as notified by the Umted States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      L"NITED STATES MARSHAL



                                                                             By
                                                                                                   DEPUTY L"NITED STATES MARSHAL
                            Case 2:15-cr-00561-JS Document 32 Filed 12/07/18 Page 3 of 7
AO 245B (Rev 02/18)   Judgment ma Cnmmal Case
                      Sheet 3 - Supervised Release
                                                                                                      Judgment      Page   3   of      7
DEFENDANT: DALE WILES
CASE ~MBER: DPAE2:15CR000561-01
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 Three years on Count 1 with first three months on home confinement with electronic monitoring following the electronic
 monitoring protocol. Defendant is ordered to perform 100 hours of community service.




                                                     MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refram from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determmed by the court.
            D The above drug testing condit10n is suspended, based on the court's determmation that you
                pose a low nsk of future substance abuse. (check if applicable)
4.    D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.     ~ You must cooperate in the collection of DNA as directed by the probation officer.   (check ifapplzcable)

6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check 1/ applzcable)
7.     D You must participate m an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page
                         Case 2:15-cr-00561-JS Document 32 Filed 12/07/18 Page 4 of 7
•AO 245B (Rev 02/l 8) Judgment m a Cnmmal Case
                      Sheet 3A - Supervised Release
                                                                                               Judgment   Page                of
DEFENDANT: DALE WILES
CASE ~LIMBER: DPAE2:15CR000561-01

                                      STAND ARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behav10r while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements m your conduct and condition.

1.    You must report to the probation office m the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After imtially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as mstructed.
3.    You must not knowingly leave the federal judicial distnct where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you hve or anything about your living
      arrangements (such as the people you hve with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware ofa change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causmg bodily mjury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the mstructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
      v                 Case 2:15-cr-00561-JS Document 32 Filed 12/07/18 Page 5 of 7
 AO 245B(Rev 02/18) Judgment m a Crmunal Case
                    Sheet 30   Supervised Release
                                                                                            Judgment- Page   $    of      _J
DEFENDANT: DALE WILES
CASE NUMBER: DPAE2:15CR000561-01

                                       SPECIAL CONDITIONS OF SUPERVISION


The defendant shall provide the U.S. Probation Office with full disclosure of his financial records to include yearly income
tax returns upon the request of the U.S. Probation Office. The defendant shall cooperate with the probation officer in the
investigation of his financial dealings and shall provide truthful monthly statements of his income.

The defendant is prohibited from incurring any new credit charges or opening additional lines of credit without the approval
of the probation officer, unless the defendant is in compliance with a payment schedule for any fine or restitution obligation.
The defendant shall not encumber or liquidate interest in any assets unless it is in direct service of the fine or restitution
obligation or otherwise has the express approval of the Court.

 Restitution is not an issue in this case.

It is further ordered that the defendant shall pay to the United States a fine of $3,000. The Court will waive the interest
requirement in this case. The fine is due immediately and shall be paid in full within 30 days of sentencing. If not paid
within 30 days, defendant must make arrangements to make payments of not less than $100 per month until full amount is
paid.

 The defendant shall notify the United States Attorney for this district within 30 days of any change of mailing address or
 residence that occurs while any portion of the fine remains unpaid

 It is further ordered that the defendant shall pay to the United States a total special assessment of $100, which shall be
 paid immediately.

 Defendant is order to 100 hours of community service.
       ~
                          Case 2:15-cr-00561-JS Document 32 Filed 12/07/18 Page 6 of 7
AO 245B (Rev 02/18)   Judgment in a Crunmal Case
                      Sheet 5 ·-- Cnmmal Monetary Penalties
                                                                                                         Judgment - Page       6   of   7
 DEFENDANT: DALE WILES
 CASE NUMBER: DPAE2:15CR000561-01
                                               CRIMISAL MONETARY PENAL TIES
     The defendant must pay the total crimmal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                   JVT A Assessment*                Fine                        Restitution
TOTALS            $ 100.00                      s                                  $ 3,000.00                $


 D The determination of restitution is deferred until                     • An Amended Judgment in a Criminal Case {AO 245C) will be entered
     after such determmation.

 D The defendant must make restitution (including community restitut10n) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paynient, unless specified otherwise in
     the prionty order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.




 TOTALS                              $                          0.00           $                         0.00


 D     Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitutwn and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 C.S.C. § 3612(g).

 ~     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       ~ the interest reqmrement is waived for the              ~ fine     D restitution.
       D the interest requirement for the           D    fine    D     restitution is modified as follows:

 *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Fmdings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or
 after September 13, 1994, but before Apnl 23, 1996.
                        Case
AO 24St (Rev 02/18) Judgment ma 2:15-cr-00561-JS
                                Cnmmal Case                  Document 32 Filed 12/07/18 Page 7 of 7
,.                  Sheet 6 - Schedule of Payments

                                                                                                            Judgment    Page     L_     of           7
DEFENDANT: DALE WILES
CASE NUMBER: DPAE2:15CR000561-01

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    fll    Lump sum payment of$        100.00                due immediately, balance due

            D     not later than                       -           , or
            l;1   in accordance with D      C,    D    D,     D    E, or      ~   Fbelow; or

B    D      Payment to begin 11lllllediately (may be combined with         DC,         DD, or        C F below); or

C    D      Payment in equal                       (e.g. weekly. monthly. quarterly) installments of $                            over a period of
                          (e.g. months or years), to commence                       (e.g.. 30 or 60 days) after the date ofthis judgment; or

D    D      Payment in equal                       (e.g. weekly, monthly. quarterly) mstallments of $                          over a period of
                       _. (e g. months or years), to commence                     . (e.g, 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E    D      Payment during the term of supervised release will commence within             .. . (e . g. 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    !ill   Special instructions regarding the payment of crimmal monetary penalties.

             Defendant shall pay to the United States a fine of $3,000. The fine is due immediately and shall be paid in full
             within 30 days of sentencing. If not paid within 30 days, defendant must make arrangements to make payments of
             not less than $100 per month until full amount is paid.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any crillllnal monetary penalties imposed.




D    Jomt and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the L'nited States:



Payments shall be apphed in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
